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                            IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

     IN RE: SENSIPAR (CINACALCET                          C.A. No. 19-md-02895-LPS
     HYDROCHLORJDE TABLETS) ANTITRUST
     LITIGATION




      THIS DOCUMENT RELATES TO:


      ALL INDIRECT PURCHASER ACTIONS                      C.A. No. 19-369-LPS
                                                          C.A. No. 19-1461-LPS



                                         [PR~D] ORDER

             AND NOW, this\~     t     of ~t.,4,.~019, the Court having considered End Payor

      Plaintiffs' Motion to File Their Brief in Opposition to Defendant Amgen's Motion to Dismiss

      End Payor Plaintiffs ' Consolidated Class Action Complaint Under Seal (the "Motion"):

             IT IS HEREBY ORDERED that the Motion is Granted;

             IT IS HEREBY FURTHER ORDERED that End Payor Plaintiffs shall file their Brief in

      Opposition to Defendant Amgen' s Motion to Dismiss under seal;

             IT IS HEREBY FURTHER ORDERED that End Payor Plaintiffs shall file a redacted

      version of their Brief in Opposition to Defendant Amgen' s Motion to Dismiss Complaint within

      7 days after service of the Brief in Opposition to Defendant Amgen' s Motion to Dismiss.




                                                                 United States District Court Judge
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